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Via ECF

September 2, 2022

Lyle W. Cayce
Clerk of the Court
U.S. Court of Appeals for the Fifth Circuit
600 South Maestri Place
New Orleans, Louisiana 70130


        Re:     United States v. Rahimi, No. 21-11001: Response to Government 28(j) Letter
                Regarding 18th Century Laws

Dear Mr. Cayce:

         None of the newly cited old authorities is “relevantly similar” to 18 U.S.C. § 922(g)(8). New
York State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2132 (2022). These laws prohibited misuse
of firearms, and three allowed confiscation of misused weapons as a punishment. See 1786 Va. Acts
ch. 21 in Va. Acts 30 (1803 ed.); N.H. Acts 1–2 (Fowle 1761); and 1692 Mass. Acts. ch. 18, § 6, in
1 Mass. Acts 52–53 (Wright & Potter 1869).

        None of the early American laws banned a citizen from possessing firearms at home. Exactly
the opposite—from 1607–1815, American legislatures refused to regulate the possession or ownership
of firearms by “the body politic,” including even “dangerous” citizens. Robert H. Churchill, Gun
Regulation, the Police Power, and the Right to Keep Arms in Early America: The Legal Context of the Second
Amendment, 25 Law & Hist. Rev. 139, 161–64 (2007). In this, American laws diverged from “English
law,” which did allow authorities to preemptively disarm allegedly dangerous people. Id. at 164.

       Rather than preemptive disarmament, American tradition reflects “robust use of the colonial
and early national states’ police power to regulate the use of guns.” Id. (emphasis added). All laws the
Government cites typify that pattern—they punish the misuse of weapons “to promote public safety
and to protect private property.” Id. at 164. Even when misused guns were confiscated and sold as
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punishment, nothing prevented an unimprisoned malefactor from possessing another firearm at
home. Thus, these historical laws differ from § 922(g)(8) on Bruen’s “how” and “why” metrics. 142
S. Ct. at 2133.

        These early laws supply a better answer for Judge Wilson’s question about the Second
Amendment protecting the right of “law-abiding citizens” to keep and bear arms. “Law-abiding”
cannot be a description of a person because American history and tradition allow even dishonorable,
law-breaking, and immoral citizens to retain to their personal weapons. “Law-abiding” might instead
describe the conduct that is protected by the Second Amendment: governments may prohibit and
severely punish the unlawful misuse of a firearm.

                                             Respectfully submitted,

                                             /s/ J. Matthew Wright
                                             Assistant Federal Public Defender


cc (via ECF):         William A. Glaser


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